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                                                                                                           UNITED STATES DISTRICT COURT
                                                       MENLO PAR K




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                                                                                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                     14

                                                                     15   LFP IP, LLC,                                   CASE NO. 2:16-cv-00166
                                                                     16                           Plaintiff,             Hon. Frederick F. Mumm
                                                                     17            v.                                    DEFENDANT LEE KEITH BRETT’S
                                                                     18   LEE KEITH BRETT,                               AMENDED MEMORANDUM OF
                                                                                                                         CONTENTIONS OF FACT AND
                                                                     19                           Defendant.             LAW PURSUANT TO CIVIL
                                                                                                                         LOCAL RULE 16-4
                                                                     20
                                                                                                                         Pretrial Conference: September 12, 2018
                                                                     21
                                                                                                                         First Day of Trial: October 2, 2018
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                                                                      1            Pursuant to Local Rule 16-4, Defendant Lee Keith Brett (“Defendant” or
                                                                      2   “Mr. Brett”) respectfully submits this Memorandum of Contentions of Fact and
                                                                      3   Law.
                                                                      4   I.       INTRODUCTION
                                                                      5            Plaintiff LFP IP, LLC (“Plaintiff” or “LFP”) has accused Mr. Brett of
                                                                      6   infringing two federally registered trademarks “Hustler” and “Hustler Hollywood”
                                                                      7   (“the Hustler trademarks”). Mr. Brett has been a professional pool player and
                                                                      8   instructor for over twenty years. Mr. Brett has been coaching in the American Pool
                                                                      9   Players Association (“APA”), the world’s largest pool league, for the past three
                                                                     10   years. He has coached many world champions including the Hong Kong national
                                                                     11   team.
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                                                                     12            In 2012, Mr. Brett suffered injuries from a car accident that prevented him
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                                                                     13   from playing and coaching pool. In 2014, Mr. Brett recovered from his injuries and
                                                                     14   received $32,000 as part of a settlement from the car accident. That year, Mr. Brett
                                                                     15   launched a line of t-shirts, polo shirts, and hats with his partner, targeted
                                                                     16   specifically for the pool industry. Mr. Brett started his new company using the
                                                                     17   brand name “American Hustler,” with a logo including a red star and distinctive
                                                                     18   font. Mr. Brett specifically chose the name American Hustler because his clothing
                                                                     19   line was made in America and the term “hustler” has long been used in the billiard
                                                                     20   industry. With respect to the details of Mr. Brett’s trademark, he selected the star
                                                                     21   iconography in his logo to represent his position in the pool industry, chose the
                                                                     22   color red because it represents his favorite football team, and employed a font
                                                                     23   uniquely different from the font used by Plaintiff. Furthermore, Mr. Brett has
                                                                     24   consistently marketed his products specifically to the pool industry and pool
                                                                     25   enthusiasts. At no time did Mr. Brett intend to deceive the average consumer into
                                                                     26   believing that his t-shirts were in any way affiliated with the Hustler trademarks.
                                                                     27            The use of the word “hustler” in popular culture in connection with the sport
                                                                     28   of pool dates back to at least 1959, as evidenced by its use in the book “The
                                                                                                                                          DEFT’S AMENDED MEMO OF
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                                                                      1   Hustler” by Walter Tevis. Pool hustling has been the subject of films such as “The
                                                                      2   Hustler” (1961) and The Color of Money (1986). Hustling has been written about
                                                                      3   extensively in books such as “A Billiard Hustler's Life” (1984) by Danny
                                                                      4   McGoorty; “A Pool Room Hustler” (2004) by Robert Byrne; “Playing off the Rail:
                                                                      5   A Pool Hustler’s Journey” by David McCumber; “Hustler Days: Minnesota Fats,
                                                                      6   Wimpy Lassiter, Jersey Red, and America’s Great Age of Pool (2003) by R.A.
                                                                      7   Dyer; and Confessions of a Pool Hustler (2010) by Robert LeBlanc. Moreover,
                                                                      8   “hustler” is used by many songwriters in songs such as, “Hustler’s Ambition” by 50
                                                                      9   cent; “U Don’t Know” by Jay-Z; and “Hustler Musik” by Lil Wayne. In addition to
                                                                     10   its use in connection with pool, the word “hustler” is often used in popular culture
                                                                     11   to refer to someone who is entrepreneurial, works hard, and perhaps makes deals to
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                                                                     12   get ahead in life, which is entirely distinct from the sexual connotation of the
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                                                                     13   Hustler trademarks.
                                                                     14            It is therefore unsurprising that the United States Patent and Trademark
                                                                     15   Office (“PTO”) has registered the word “hustler” and derivatives of it for over forty
                                                                     16   trademarks outside of the Hustler trademarks. For example, “Baltimore Hustlers,”
                                                                     17   reg. no. 3716459; “Charlotte is for Hustlers,” reg. no. 5198649; “Chi-Town
                                                                     18   Hustlers,” reg. no. 3148306; “Cigar Hustler,” reg. no. 4337913; “Flextone Game
                                                                     19   Calls Hustler,” reg. no. 4059217; and “Hustler State,” reg. no. 1934785.
                                                                     20            What is disputed here is whether Mr. Brett’s trademark has infringed the
                                                                     21   Hustler trademarks and if Mr. Brett is liable for false designation of origin under 15
                                                                     22   U.S.C. § 1125(a). Under these facts, and as will be more fully demonstrated at trial,
                                                                     23   it is clear LFP cannot prove the essential elements of its claims.
                                                                     24   II.      PLAINTIFF’S CLAIMS
                                                                     25            A.        SUMMARY OF LFP’S CLAIMS
                                                                     26            LFP has stated that it intends to pursue each of the following pleaded claims:
                                                                     27            Claim 1:            Trademark Infringement: LFP alleges that Mr. Brett has directly
                                                                     28   infringed its trademark in violation of 15 U.S.C. § 1114(a).
                                                                                                                                                DEFT’S AMENDED MEMO OF
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                                                                      1            Claim 2:            False Designation or Origin: LFP IP alleges that Mr. Brett
                                                                      2   violated the Lanham Act, 15 U.S.C. § 1125(a).
                                                                      3            B.        ELEMENTS REQUIRED TO ESTABLISH LFP’S CLAIMS
                                                                      4                      1.        Trademark Infringement
                                                                      5            To succeed on its claim for trademark infringement, LFP must prove:
                                                                      6            (a)       The Hustler trademarks are valid and protectable;
                                                                      7            (b)       LFP owns the Hustler trademarks; and
                                                                      8            (c)       Mr. Brett used a mark similar to at least one of the Hustler trademarks,
                                                                      9   without the consent of the Plaintiff in a manner that is likely to cause confusion
                                                                     10   among ordinary consumers as the source, sponsorship, affiliation, or approval of the
                                                                     11   goods.1
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                                                                     12                      2.        False Designation of Origin
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                                                                     13            To succeed on its claim for false designation of origin, LFP must prove:
                                                                     14            (a)       Mr. Brett made a false or misleading statement about his own product
                                                                     15   or another’s product in commercial advertising;
                                                                     16            (b)       the deception is material, in that it is likely to influence the purchasing
                                                                     17   decision;
                                                                     18            (c)       Mr. Brett caused his false or misleading statement to enter interstate
                                                                     19   commerce; and
                                                                     20            (d)       LFP has been or is likely to be injured as a result of the false or
                                                                     21   misleading statement, either by direct diversion of sales from itself to Mr. Brett or
                                                                     22   by a lessening of the goodwill associated with its products. 2
                                                                     23

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                                                                     26   1
                                                                           See Ninth Circuit Manual of Model Jury Instructions – Civil §§ 15.13, 15.16.
                                                                     27   2
                                                                           See Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir.
                                                                          1997); Newcal Indus., Inc. v. Ikon Office Solution, 513 F.3d 1038, 1054 (9th Cir.
                                                                     28   2008); see also 15 U.S.C. § 1125(a)(1)(B).
                                                                                                                                                DEFT’S AMENDED MEMO OF
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                                                                      1            C.        BRIEF DESCRIPTION OF KEY EVIDENCE IN OPPOSITION TO EACH OF
                                                                                             LFP’S CLAIMS
                                                                      2

                                                                      3            There is no evidence to support a claim of trademark infringement or a false
                                                                      4   designation of origin against Mr. Brett. All of LFP’s causes of action are based on
                                                                      5   the same facts and advertisements, and as such, the evidence in opposition to each
                                                                      6   cause of action is substantially similar, if not the same. 3
                                                                      7            LFP has sued Mr. Brett because Mr. Brett launched a line of t-shirts, polo
                                                                      8   shirts, and hats, and a website under the name American Hustler. Plaintiff is unable
                                                                      9   to prove by a preponderance of the evidence that Mr. Brett’s use of American
                                                                     10   Hustler is likely to cause confusion amount ordinary consumers as to the source,
                                                                     11   sponsorship, affiliation, or approval of the goods.
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                                                                     12                      1.        Evidence In Opposition To LFP’s Trademark Infringement
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                                                                                                       Claim
                                                       MENLO PAR K




                                                                     13

                                                                     14            Mr. Brett intends to use examples of American Hustler t-shirts, photographs
                                                                     15   of American Hustler Designs; screenshots from Mr. Brett’s website American
                                                                     16   Hustler and related Facebook page; articles about Mr. Brett; screenshots of
                                                                     17   Plaintiff’s website Hustler Hollywood; books and movies using the word “hustler”
                                                                     18   in connection with the sport of pool; definitions of the word “hustler” and
                                                                     19   “hustling;” lyrics to popular songs using the words “hustle,” “hustler,” and
                                                                     20   “hustling;” screenshots of Plaintiff’s t-shirt designs, screenshots from other
                                                                     21   websites using the word “hustler;” screenshots of other t-shirts using the word
                                                                     22   “hustler” and “1974;” testimony from witnesses, and facts already submitted to the
                                                                     23   Court to demonstrate that LFP cannot prove its claims.
                                                                     24

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                                                                            While there is substantial overlap between the evidence in opposition to the claim
                                                                          for trademark infringement and the claim for false designation of origin, Mr. Brett
                                                                     28   lists the evidence for each claim separately in order to comply with L.R. 16-4.1.
                                                                                                                                            DEFT’S AMENDED MEMO OF
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                                                                      1                      2.        Evidence In Opposition To LFP’s False Designation of
                                                                                                       Origin Claim
                                                                      2

                                                                      3            Mr. Brett intends to use examples of American Hustler t-shirts, photographs
                                                                      4   of American Hustler Designs and related Facebook page; screenshots from Mr.
                                                                      5   Brett’s website American Hustler; articles about Mr. Brett; screenshots of
                                                                      6   Plaintiff’s website Hustler Hollywood; books and movies using the word “hustler”
                                                                      7   in connection with the sport of pool; definitions of the word “hustler” and
                                                                      8   “hustling;” lyrics to popular songs using the words “hustle,” “hustler,” and
                                                                      9   “hustling;” screenshots of Plaintiff’s t-shirt designs, screenshots from other
                                                                     10   websites using the word “hustler;” screenshots of other t-shirts using the word
                                                                     11   “hustler” and “1974;” testimony from witnesses, and facts already submitted to the
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                                                                     12   Court to demonstrate that LFP cannot prove its claims.
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                                                                     13   III.     DEFENDANT’S AFFIRMATIVE DEFENSES
                                                                     14            A.        AFFIRMATIVE DEFENSES WAIVED FOR TRIAL
                                                                     15            Pursuant to the meet and confer process with LFP’s counsel, and based in
                                                                     16   particular on LFP’s counsel’s representations that it will not pursue a claim for
                                                                     17   damages, and has withdrawn and will not pursue its Third and Fourth Claims
                                                                     18   asserted in the Complaint, Mr. Brett will not pursue at trial the following defenses
                                                                     19   previously asserted in Mr. Brett’s answer, affirmative defenses and counterclaims
                                                                     20   (ECF No. 23 at p.4) are withdrawn: 1) estoppel; 2) license; 3) laches; 4) waiver; 5)
                                                                     21   failure to state a claim; 6) mitigation of damages.
                                                                     22   IV.      DEFENDANT’S COUNTERCLAIMS
                                                                     23            A.        WAIVED COUNTERCLAIMS
                                                                     24            On August 3, Mr. Brett withdrew two counterclaims asserted in the Answer.
                                                                     25   See ECF No. 30.
                                                                     26   V.       IDENTIFICATION OF ANY EVIDENTIARY ISSUES
                                                                     27            On June 16, 2017, the parties filed a joint pretrial exhibit stipulation with
                                                                     28   their separate proposals. On June 6, 2018, counsel for Mr. Brett appeared in this
                                                                                                                                          DEFT’S AMENDED MEMO OF
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                                                                       1   case and, since then, has been reviewing the evidence and exhibits. On August 15,
                                                                       2   2018, counsel for both parties met and conferred regarding the evidence and
                                                                       3   exhibits and agreed to work together to file the pre-trial stipulation on or before
                                                                       4   September 25, 2018. There are no known evidentiary issues at this time.
                                                                       5   VI.     ISSUES OF LAW
                                                                       6           A.        THERE IS NO LIKELIHOOD OF CONFUSION
                                                                       7           LFP cannot prove the requisite likelihood of confusion. The likelihood of
                                                                       8   confusion inquiry asks “whether a reasonably prudent consumer in the marketplace
                                                                       9   is likely to be confused as to the origin or source of the goods or services bearing”
                                                                      10   the mark at issue. Rearden LLC v. Rearden Com., Inc., 683 F.3d 1190, 1202–03
                                                                      11   (9th Cir. 2012). “[P]laintiff must show more than simply a possibility of such
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                                                                      12   confusion.” Id. The Ninth Circuit applies a flexible eight-factor test in determining
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                                                                      13   the likelihood of confusion, which looks to the:
                                                                      14           1)        Strength of the mark;
                                                                      15           2)        Proximity of the goods;
                                                                      16           3)        Similarity of the marks;
                                                                      17           4)        Evidence of actual confusion;
                                                                      18           5)        Marketing channels used;
                                                                      19           6)        Type of goods and the degree of care likely to be exercised by the
                                                                      20   purchaser;
                                                                      21           7)        Defendant’s intent in selecting the mark; and
                                                                      22           8)        Likelihood of expansion of the product lines.
                                                                      23   Id. (citing AMF Inc. v. Sleekcraft Boats, 599 F.2d 341, 348–49 (9th Cir. 1979),
                                                                      24   abrogated on other grounds by Mattel, Inc. v. Walking Mountain Prod., 353 F.3d
                                                                      25   792, 800 n.19 (9th Cir. 2003)).
                                                                      26           B.        THE HUSTLER TRADEMARKS ARE NOT COMMERCIALLY STRONG
                                                                      27           Courts consider the commercial strength of an allegedly infringed mark,
                                                                      28   looking to actual marketplace recognition. Network Automation, Inc. v. Advanced
                                                                                                                                                DEFT’S AMENDED MEMO OF
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                                                                       1   Sys. Concepts, Inc., 638 F.3d 1137, 1149 (9th Cir. 2011) (citing Brookfield Comm.
                                                                       2   Inc. v. W. Coast Ent. Corp., 174 F.3d 1036, 1058 (9th Cir. 1999)). “Use of similar
                                                                       3   marks by third-party companies in the relevant industry weakens the mark at issue.”
                                                                       4   M2 Software, Inc. v. Madacy Ent., 421 F.3d 1073, 1088 (9th Cir. 2005) (citations
                                                                       5   omitted). A mark being incontestable “does not require a finding that the mark is
                                                                       6   strong.” Entrepreneur Media, Inc. v. Smith, 279 F.3d 1135, 1142 n.3 (9th Cir.
                                                                       7   2002). The Hustler trademarks are not strong, given among other things, the
                                                                       8   volume of “hustler” variants in competing commercial uses and/or registered by the
                                                                       9   USPTO, the number of references to “hustler” or variants of the word in popular
                                                                      10   culture, and the widespread use of “hustler” in the pool industry.
                                                                      11           C.        THE T-SHIRTS ARE DISTINGUISHABLE SUCH THAT REASONABLE
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                                                                                             CONSUMERS ARE NOT CONFUSED
                                                                      12
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                                                                      13           The relevant question is whether a reasonable consumer would believe that
                                                                      14   related but noncompeting goods sold under similar trademarks come from the same
                                                                      15   source. Automotive Gold Inc. v. Volkswagen of Am., Inc., 457 F.3d 1062 (9th Cir.
                                                                      16   2006). When the goods are more closely related, the marks at issue can be less
                                                                      17   similar to satisfy the proximity factor, because related goods are more likely to
                                                                      18   confuse the public; a “diminished standard of similarity” is applied when
                                                                      19   comparing marks of closely related goods.           Anne Gilson LaLonde, Gilson on
                                                                      20   Trademarks § 5.05[2] (2017); see also Official Airline Guides, Inc. v. Goss, 6 F.3d
                                                                      21   1385 (9th Cir. 1993)). Goods are proximate if they are similar in use and function
                                                                      22   and would be reasonably thought by the buying public to come from the same
                                                                      23   source if sold under the same mark. Among other things, Mr. Brett’s goods are
                                                                      24   marketed specifically to the pool industry, and commonly contain distinctive and
                                                                      25   different markings and iconography. There is no likelihood the public will be
                                                                      26   confused by Mr. Brett’s high-quality, American made shirts focused on the sport of
                                                                      27   pool versus the sex-related t-shirts sold by LFP.
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                                                                       1           D.        THE MARKS ARE NOT SIMILAR
                                                                       2           LFP has argued that adding “American” does not diminish the likelihood of
                                                                       3   confusion, but on at least once occasion, the Ninth Circuit has opined that the
                                                                       4   addition of another multisyllabic word could allow a reasonable juror to find one
                                                                       5   mark dissimilar from another. See Entrepreneur Media, 279 F.3d at 1145 (citation
                                                                       6   omitted). Despite LFP’s erroneous contention that Mr. Brett having disclaimed
                                                                       7   “American” on his trademark application means it should have no weight in the
                                                                       8   analysis, the Ninth Circuit has explicitly held otherwise. See Sleeper Lounge Co. v.
                                                                       9   Bell Mfg. Co., 253 F.2d 720, 722 n.1 (9th Cir. 1958).
                                                                      10           Further, the presence of a common word does not render two marks similar
                                                                      11   where additional words make the mark distinctive. Stonefire Grill, Inc. v. FGF
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                                                                      12   Brands, Inc., 987 F.Supp.2d 1023, 1052 (C.D. Cal. 2013). “American” is certainly
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                                                                      13   multisyllabic and impacts the more significant verbal portion of the mark, while the
                                                                      14   addition of the star in Mr. Brett’s logo provides further visual uniqueness. See id. at
                                                                      15   1052 (finding that Defendant’s mark having additional words and a graphic of
                                                                      16   orange fire, where Plaintiff’s mark bore no design or graphic, made the marks
                                                                      17   visually dissimilar); see also SG Servs. Inc. v. God's Girls Inc., No. CV 06-989
                                                                      18   AHM, 2007 WL 2315437, at *5 (C.D. Cal. May 9, 2007) ( The mere fact that both
                                                                      19   marks contain the word “girls” does not create a likelihood of confusion because
                                                                      20   the prefatory words—“Suicide” and “God’s”—have very distinct sounds and
                                                                      21   meanings.). Here, Mr. Brett’s trademark not only includes the prefatory word,
                                                                      22   “American,” it also uses the star iconography, commonly employs different and
                                                                      23   distinctive fonts and other presentation, and routinely includes language associating
                                                                      24   the use with the pool industry—making it prominently dissimilar.                  These
                                                                      25   differences weigh against a finding of confusion.
                                                                      26           E.        THERE IS NO EVIDENCE OF ACTUAL CONFUSION
                                                                      27           “Evidence that use of the two marks has already led to confusion is
                                                                      28   persuasive proof that future confusion is likely.” M2 Software, 421 F.3d at 1082
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                                                                       1   (citing Sleekcraft, 599 F.2d at 352). LFP cannot provide any evidence of actual
                                                                       2   confusion, therefore this factor weighs in Mr. Brett’s favor.
                                                                       3           F.        THE MARKETING CHANNELS ARE SUFFICIENTLY DIFFERENT
                                                                       4           The Ninth Circuit has found this factor has become less important when the
                                                                       5   marketing channel is less obscure. Network Automation, 638 F.3d at 1151. Today,
                                                                       6   it would be the rare commercial retailer that did not advertise online, and the shared
                                                                       7   use of a ubiquitous marketing channel does not shed much light on the likelihood
                                                                       8   of consumer confusion. Id. (emphasis added). See Playboy Enterprises, Inc. v.
                                                                       9   Netscape Communications Corp, 354 F.3d 1020, 1028 (9th Cir. 2004) (“Given the
                                                                      10   broad use of the Internet today, the same could be said for countless companies.
                                                                      11   Thus, this factor merits little weight.”).
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                                                                      12           Mr. Brett also markets his products at pool industry shows and rooms (ECF
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                                                                      13   No. 43), and LFP has presented no evidence that it does so. Where parties share
                                                                      14   “only general internet channels,” as opposed to being sold in the same types of
                                                                      15   stores, this factor militates against the party alleging infringement. See New Milani
                                                                      16   Grp., Inc. v. J.T. Bella, LLC, No. CV 12-10612, 2013 WL 12116579 (C.D. Cal.
                                                                      17   July 22, 2013). Moreover, Mr. Brett markets specifically to pool players, while
                                                                      18   LFP’s products have no apparent quality that would give them any affinity with
                                                                      19   pool players. See Equinox Hotel Mgmt, Inc. v. Equinox Holdings, Inc., 17-CV-
                                                                      20   06393-YGR, 2018 WL 659105, at *8 (N.D. Cal. Feb. 1, 2018) (finding the
                                                                      21   marketing channels factor weighed in favor of defendant where the parties market
                                                                      22   to different types of customers) (citing Mach. Head v. Dewey Glob. Holdings Inc.,
                                                                      23   No. C 99-04326 CW, 2001 WL 1747180, at *9 (N.D. Cal. Dec. 13, 2001)). The
                                                                      24   minimal weight of sharing the internet as a marketing channel, Mr. Brett’s use of a
                                                                      25   channel that LFP does not use, and Mr. Brett’s choice to market to a different set of
                                                                      26   customers than LFP likely points to this factor weighing in favor of Mr. Brett.
                                                                      27

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                                                                       1           G.        THE DEGREE OF CARE EXERCISED BY THE CONSUMER
                                                                       2           The default degree of consumer care is becoming more heightened as the
                                                                       3   novelty of the Internet evaporates and online commerce becomes commonplace.
                                                                       4   Network Automation, Inc., 638 F.3d at 1152. Among other things, Mr. Brett’s
                                                                       5   marketing routinely refers to the sport of pool and commonly makes the association
                                                                       6   with pool clear on its face. Mr. Brett’s website also clearly shows the “American
                                                                       7   Hustler” trademark affiliation with Mr. Brett. Mr. Brett’s website clearly states,
                                                                       8   “We decided to start American Hustler so players can wear stylish apparel, in and
                                                                       9   out, of the pool hall. With premium products we only supply the best to help your
                                                                      10   game improve.”
                                                                      11          A reasonably prudent consumer would not be confused into believing that Mr.
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                                                                      12   Brett’s t-shirts, which are focused on the sport of pool, have a formal affiliation
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                                                                      13   with the maker of sex-related goods.
                                                                      14           H.        MR. BRETT’S INTENT IN SELECTING THE MARK
                                                                      15           “[M]uch like the proximity of the goods, the defendant's intent may be
                                                                      16   relevant here, but only insofar as it bolsters a finding that the use of the trademark
                                                                      17   serves to mislead consumers rather than truthfully inform them of their choice of
                                                                      18   products.” Network Automation, 638 F.3d at 1153. Contrary to LFP’s allegations,
                                                                      19   Mr. Brett has not designed his t-shirts to confuse the public. See supra, Section I.
                                                                      20   VII. TRIAL
                                                                      21           Mr. Brett and LFP have each timely requested jury trials in their pleadings,
                                                                      22   and in the Rule 26 Case Management Report. Pursuant to a meet and confer that
                                                                      23   took place on August 15, 2018, the parties agreed to a bench trial.
                                                                      24   Dated: August 22, 2018                  Respectfully submitted,
                                                                      25                                           MCDERMOTT WILL & EMERY LLP
                                                                      26
                                                                                                            By:     /s/ Jason D. Strabo
                                                                      27                                           Jason D. Strabo
                                                                                                                   Attorneys for Defendant Lee Keith Brett
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                                                                                                                                           DEFT’S AMENDED MEMO OF
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